 Case: 4:16-cr-00159-AGF Doc. #: 208 Filed: 05/14/18 Page: 1 of 1 PageID #: 2126


                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION
UNITED STATES OF AMERICA,                           )
                                                    )
          Plaintiff,                                )
                                                    )
    v.                                              )        No. 4:16-CR-00159-AGF
                                                    )
LOREN ALLEN COPP,                                   )
                                                    )
          Defendant.                                )
                                                    )
                                                ORDER

         In connection with the bench trial held in this matter,

         IT IS HEREBY ORDERED that or before Monday, May 21, 2018, the United States shall

file a memorandum identifying the legal elements of each of the Counts of the Superseding

Indictment, with citation to supporting case law.

         IT IS FURTHER ORDERED that if Defendant disagrees with the legal elements of the

Counts as identified by the United States, he shall have seven days from the date of service to file a

counter statement of the elements as to any such Count with citation supporting case law.

         The filings by the parties shall be limited to identification of the legal elements of each of

the claims, and shall not contain argument with respect to the facts.

         Dated this 14th day of May, 2018.


                                                        __________________________________
                                                        AUDREY G. FLEISSIG
                                                        UNITED STATES DISTRICT JUDGE
